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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION AT DAYTON

 ROBERT L. ATKINSON,

         Plaintiff,                                  Case No. 3:20-cv-306

 vs.

 TONI D. ATKINSON,                                   District Judge Walter H. Rice
                                                     Magistrate Judge Michael J. Newman
         Defendant.


  ORDER AND ENTRY: (1) ADOPTING THE REPORT AND RECOMMENDATION OF
     THE MAGISTRATE JUDGE (DOC. 3); (2) DISMISSING PRO SE PLAINTIFF'S
      COMPLAINT WITHOUT PREJUDICE PURSUANT TO 28 U.S.C. § 1915; (3)
   DIRECTING THAT SERVICE OF PROCESS NOT ISSUE: AND (4) TERMINATING
                        THIS CASE ON THE DOCKET


         The Cou11 has reviewed the Report and Recommendation of Magistrate Judge Michael J.

 Newman (doc. 3), to whom this case was refen-ed pursuant to 28 U.S.C. § 636(b). The parties

 have not filed objections to the Report and Recommendation and the time for doing so under Fed.

 R. Civ. P. 72(b) has expired.          According ly, the Court: ( I) ADOPTS the Report and

 Recommendation of the Magistrate Judge (doc. 3) in its entirety; (2) DISMISSES prose Plaintiffs

 complaint WITHOUT PREJUDICE pursuant to 28 U.S.C. § 1915; (3) DIRECTS that service

 of process not issue; and (4) TERMINATES this case on the Court' s docket.

         IT IS SO ORDERED.


 Date:   ' 'D - ,   CJ -   :i. 0
                                                     Walter H. Rice
                                                     United States District Judge
